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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION
 NORM DETRICK, ET AL.                              )
                                                   )
                Plaintiffs,                        )
                                                   )
 v.                                                )        Case No. 5:24-cv-01154
                                                   )
 KCS INTERNATIONAL INC. d/b/a                      )        Hon. Pamela A. Barker
 CRUISERS YACHTS, ET AL.                           )
                                                   )
                                                   )
                Defendants.                        )


         DEFENDANTS’ MOTION FOR THE ADMISSION PRO HAC VICE OF
                          CHRISTINA M. PAUL

       Pursuant to Local Rule 83.5, Defendants Cruisers Yachts, SkipperBud’s, Mark Pedersen,

Dan Zenz, Todd Riepe, and John Ferfecki, by and through their undersigned counsel, Travis L.

Brannon, respectfully move this Court for permission for Christina M. Paul to appear and

participate as co-counsel for Defendants in this action pro hac vice.

       Pursuant to Local Rule 83.5(h) the following information is provided:

       Name:                   Christina M. Paul

       Address:                K&L Gates LLP
                               200 South Biscayne Boulevard
                               Suite 3900
                               Miami, FL 33131-2399

       Phone Number:           305-539-3300

       Facsimile Number:       305-358-7095

       Email Address:          christina.paul@klgates.com

       Florida State Bar
       Number:                 0596876
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       Defendants’ undersigned counsel, Travis L. Brannon, is admitted to practice before this

Court. Ms. Paul is a member of K&L Gates LLP, located in Miami, Florida, and has been a

member in good standing of the State Bar of Florida since 2002. (See Certificate of Good Standing

of Christina M. Paul, submitted as Exhibit A concurrently herewith).

       Ms. Paul agrees to observe and be bound by the Local Rules and Orders of this Court,

including the ethical standards of the Ohio Rules of Professional Conduct adopted by the Supreme

Court of the State of Ohio, insofar as those standards are not inconsistent with federal laws.

Accordingly, Defendants, by and through undersigned counsel, respectfully requests that this

Court issue an Order permitting Christina M. Paul to appear and participate as co-counsel for

Defendants in this action pro hac vice.

 October 22, 2024                                   Respectfully submitted,

                                                    /s/ Travis L. Brannon
                                                    Travis L. Brannon (No. 99290)
                                                    Christine G. Scherer (No. 101381)
                                                    K&L Gates LLP
                                                    210 Sixth Avenue
                                                    Pittsburgh, PA 15222
                                                    Phone: (412) 355-6500
                                                    Fax: (412) 355-6501
                                                    travis.brannon@klgates.com
                                                    christine.scherer@klgates.com

                                                    Attorneys for Defendants Cruisers Yachts,
                                                    SkipperBud’s, Mark Pedersen, Dan Zenz,
                                                    Todd Riepe, and John Ferfecki




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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

deemed to have consented to electronic service and are being served on October 22, 2024 with a

copy of this document via the Court’s CM/ECF system.

                                                   /s/ Travis L. Brannon




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